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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

SONJIA M. GLENN,                          )
                                          )
      Plaintiff,                          )
                                          )
v.                                        ) Civil Action File
                                          )
TERRELL A. OJO, CANAL                     ) No. _____________
INSURANCE COMPANY, and                    )
JBR, LLC d/b/a EASTERN                    )
TRANSPORT,                                )
                                          )
      Defendants.                         )

                          NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendants

TERRELL A. OJO, CANAL INSURANCE COMPANY, and JBR, LLC

d/b/a EASTERN TRANSPORT (“Defendants”) hereby file this Notice of

Removal to remove this civil action from the State Court of DeKalb County,

Georgia, wherein it was filed on May 3, 2013, as Civil Action No.

13A47108-3, to the United States District Court for the Northern District of

Georgia, Atlanta Division. Defendants, without waiving any objection to

personal jurisdiction, respectfully state as follows:

      1.     On May 3, 2013, Plaintiff filed the above styled Complaint in

the State Court of DeKalb County, Georgia. True and correct copies of all

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process, pleadings, and orders served upon the Defendants in the above

styled case are attached hereto as Exhibit A.

      2.     Defendant Canal Insurance Company was served on June 4,

2013, but no other Defendant has been served with process as of this date.

                       DIVERSITY OF CITIZENSHIP

      3.     Plaintiff is an individual resident of DeKalb County, State of

Georgia.   (See Exhibit A, Complaint for Personal Injuries and Damages

(“Complaint”), ¶ 1.)

      4.     Defendant Terrell A. Ojo is a resident of Baltimore County in the

State of Maryland. (Complaint, ¶ 2.)

      5.     Canal Insurance Company is a corporation organized and

existing under the laws of the State of South Carolina, with its principal place

of business in Greenville, South Carolina. (Complaint, ¶ 3.)

      6.     JBR, LLC d/b/a Eastern Transport is a corporation organized and

existing under the laws of the State of Maryland, with its principal place of

business in Dundalk, Maryland. (Complaint, ¶ 4.)


                       AMOUNT IN CONTROVERSY

      7.     The Complaint does not plead a specific amount in controversy but

it does state that the Plaintiff has incurred $49,445.73 in medicals and lost wages


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of approximately $10,000. Additionally, the Plaintiff has sent several demand

letters to Defendants and all letters have demanded amounts in excess of

$400,000. Accordingly, it is undisputed that the amount in controversy exceeds

$75,000 and the minimum amount in controversy is satisfied.

                  THE OTHER REMOVAL PREREQUISITES
                         HAVE BEEN SATISFIED

      8.     This Notice of Removal was filed within thirty days after

receipt by Defendants through service or otherwise of a copy of the initial

pleadings, it is timely under 28 U.S.C. §§ 1446(b).

      9.     All Defendants consent and agree to this Notice of Removal.

      10.    Defendants have sought no similar relief with respect to this

matter.

      11.    The prerequisites for removal under 28 U.S.C. § 1441 have

been met.

      12.    Pursuant to 28 U.S.C. § 1446(a), copies of all process,

pleadings, and orders served on the removing Defendants in the state court

action are attached hereto as Exhibit A.

      13.    A copy of this Notice of Removal is being filed with the Clerk

for the State Court of DeKalb County, Georgia, as provided by law, and

written notice is being sent to Plaintiff’s counsel.

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      14.      The allegations of this Notice are true and correct, the case is

currently pending in a county within the jurisdiction of the United States

District Court for the Northern District of Georgia, Atlanta Division, and this

cause is properly removable to the United States District Court for the

Northern District of Georgia.

      WHEREFORE, Defendants desiring to remove this case to the United

States District Court for the Northern District of Georgia, Atlanta Division,

being a district and division of said Court for the county in which said action

is pending, pray that filing of this Notice of Removal shall effect the

removal of said civil action to this Court.

                    CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 7.1(D) of the Local Rules of the Northern District of

Georgia, the undersigned hereby certifies that the foregoing was prepared in

a font and point selection approved by this Court and authorized in Local

Rule 5.1(B).




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     Respectfully submitted this 6th day of June, 2013.

                              AUSTIN & SPARKS, P.C.


                              By: s/John B. Austin
                                     John B. Austin
                                     Georgia Bar No. 028814
                                     Attorneys for Defendants

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Atlanta, Georgia 30305-3272
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           EXHIBIT A
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INSURANCE COMPANY, and                   )
JBR, LLC d/b/a EASTERN                   )
TRANSPORT,                               )
                                         )
      Defendants.                        )


                      CERTIFICATE OF SERVICE

      I hereby certify that I have this day a true and correct copy of the

Notice of Removal to counsel listed below via electronic mail through ECF,

and that ECF will send an e-notice of the electronic filing to the following:

      Evan R. Mermelstein, Esq.
      Cruser & Mitchell, LLP
      Meridian II, Suite 2000
      275 Scientific Drive
      Norcross, GA 30092
      emermelstein@cmlawfirm.com
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     Respectfully submitted this 6th day of June, 2013.

                              AUSTIN & SPARKS, P.C.

                              By: s/John B. Austin
                                     John B. Austin
                                     Georgia Bar No. 028814
                                     Attorneys for Defendants

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